         Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 1 of 22




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


L. LEE WHITNUM                              :
Plaintiff                                   :
                                            :              No. 3:17-cv-1362(MPS)

v.                                          :
Town of Woodbridge, et al.                  :              September 4, 2018


                                        MOTION FOR

                                    DISQUALIFICATION

1.     This litigant is horrified! HORRIFIED to find Federal Judge Underhill on this case.

He must be made to step down immediately. He is a wolf in sheep’s clothing and he has

caused too much damage in this litigant’s life. He is doing the bidding of the powerful.

This litigant has had five cases in Federal Court and in the same way that Federal

Judge Underhill put himself on this case, he put himself on all the others. In the

Whitnum v. Darien he claimed to Judge Bolton “in the interest of justice.” This after

more than 20 Motions to Disqualify Underhill had been filed in the other cases.

Underhill is not interested in justice; he is interest in hurting this litigant as much as is

possible. This litigant and federal judge Underhill hate each other’s guts and have for

many years. He displays his hatred by getting on every case this litigant files and

throwing the case by violating her rights, including lying, violating rights and

gamesmanship. He has also engaged in other behavior such as: Trying to detain her

at the courthouse, sending marshals to her home to arrest her, and other underhanded

moves to entertain him. There are too many, too numerous to list here but this litigant

suggests Judge Shea peruse the Complaints of Judicial Misconduct again Underhill:

https://www.leewhitnum.com/underhill.html.

                                                                                                1
         Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 2 of 22




There are more on the way but these enough for this judge to realize that Underhill has

behaved abominably. He must be made to step down.

2.     The fact that Underhill put himself on this case is a testament to his

determination to hurt this litigant. He is taunting her. Please don’t allow him to do so.

This litigant is asking Federal Judge Shea to please pull rank and demand that

Underhill, clearly obsessed, be made to step down off this case. He is up to no good.

3.     Underhill is so obsessed Underhill sent judicial marshal’s to this litigant’s

residence on Nov 17, 2017 to arrest her (see Complaint of Judicial Misconduct #13.

This litigant has been locked in seven years of fulltime legalities in just trying to correct

the injustice inflicted by Judge Jane Emons, politically motivated to hurt this litigant. This

litigant is a proud member of the peace community and she does not believe nor

support Zionism a 70-year racist political movement. This litigant believes that unless

the US support is curtailed our hypocritical support (amid the injustice there – the most

despicable being the lack of equal protection under the law) will result in the slow

decline of the United States. It is patriotism that drives this litigant. The topic of this

litigant’s PhD says it all: “AIPAC, Zionism and the American Decline”. This litigant

believes the taking down of Iraq for the Neoconservatives (Israel firsters), a country that

was no threat to us, was the first nail in the coffin of the United States of America. And

this sentiment has been echoed by experts including the documentary Spymasters

where four generals claimed “we can’t kill our way out of this one.” Educating the public

and fighting for the right to discuss the downside of Zionism without the knee-jerk label

of anti-Semitism is the goal. Only educating the American public on the difference

between Judaism and Zionism, will stave off the inevitable. This is very challenging, as



                                                                                                2
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 3 of 22




any mention of Israel, except glowing, is considered anti-Semitism. Getting past the

powerful propaganda PR firms paid for by Israel and AIPAC, the most powerful force in

Washington, has always been the challenge.

4.     This litigant believed she had a First Amendment right to free speech but

apparently she does not when it comes to the US funding of Israel, which this litigant

has stated is counterproductive to the peace process and the well-being of the United

States. The media and Underhill’s role’s in in 3:11-CV-1402 contributed to smear this

litigant in the eyes of the public. The Hearst Media Corporation, in what they reported

and the editorials they allowed smeared this litigant as an anti-Semite. The Connecticut

branch of Hearst Media is very biased and determined to smear this litigant’s good

name and this litigant blames Federal Judge Underhill: Just read the hatred of potential

juror number 63 in Complaint of Judicial Misconduct #12.

       PROSPECTIVE JUROR: Sixty-three. And with Jewish heritage, obviously she
       generates a significant amount of –
       THE COURT: All right, sir –
       PROSPECTIVE JUROR: -- dialogue in our family
       THE COURT: That's fine. Thank you, sir. Thank you. Anybody else?
       MS. WHITNUM: Your Honor, I think that pretty much poisons the jury, don't you?
       THE COURT: It may well. We'll see.
       MS. WHITNUM: We're going to have to do it


This is not unlike the hate mail this litigant received. This litigant blames it on Underhill’s

weakness.

5.     In 3:11-CV-1402 this litigant took a legal stand against the Town of Greenwich for

allowing a Bar Mitzvah in the Greenwich Town Hall. This litigant thought this would be

an interesting battle considering that Greenwich was home of the landmark ACLU

Establishment Clause case regarding the Christian Cross on the Cos Cob Firehouse.



                                                                                              3
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 4 of 22




This should have been a slam dunk, three months and the $1 awarded. It took five

years and went to the US Supreme Court. Underhill did so many dishonest and

underhanded moves clearly designed to aid the Jewish Community. He repeatedly

denied the ability to depose the two most powerful members of the Jewish Community:

Pamela Ehrenkranz and Rabbi Sklarz. In repeated violation of Rule 15 he denied the

ability to amend complaints, he denied the existence of submitted evidence, lied on the

record, and so many other moves, too many to list here.

6.     This litigant has also come to believe that Underhill works behind the scenes

frequently. A Zionist heckler screamed at her at the TD Bank in the beginning of case

3:11-CV-1402 and he yelled “you are not going to win”, and he was so sure. This

litigant stood there perplexed. What did this stranger know that she didn’t? She has

since come to believe that Underhill made a deal in an in-camera conference at the

beginning of the case. Since that time Underhill’s behind the scene antics have come

up numerous times. See Complaint of Judicial Misconduct #1 where he worked behind

the scenes for attorneys Norm Pattis and possibly attorney Fred O’Brien in order to get

this litigant to do his bidding. Underhill arranged, behind the scenes to have Pattis as

this litigant’s attorney. This litigant flatly refused Underhill – who then set out to make

sure this litigant would not prevail in that case 3:14-CV-1183 (this case was about the

unlawful search and seizure of this litigant’s residence by the Town of Greenwich). The

useless Second Circuit has recently rejected this litigant’s request for remand with a

judge who does it by the book – a judge who does not leave motions unanswered, lies

on the record, and other behavior. The useless Second Circuit ruled in (3:14-CV-1183)




                                                                                              4
           Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 5 of 22




with, of course, no comment. The case now goes to the US Supreme Court where it will

be a referendum on the behavior of Federal Judge Underhill with includes:

          1. Denying long submitted Voir Dire questions at Jury Selection. 2. Refusing to
          dismiss the jury after a Zionist political heckler tainted them, 3. Lies on the
          Record, 4. Refusing to hear motion for bench trial in order to sway the case. 5.
          Engaging in trickery to have this litigant drop her Motion for Summary Judgment,
          6. Denying motion for mistrial

In that case, Norm Pattis put in an appearance without this litigant’s having agreed to

take him on as her attorney. Federal Underhill refused to remove Pattis for six months

as he tried very hard to convince this litigant to take Pattis on as her attorney. This

litigant refused Underhill. Underhill made it very clear that without Pattis as her attorney

this litigant would not prevail. This litigant was adamant: “I do not want your hand-

picked boy”. This litigant had history with Pattis as he was rude to her years prior when

she first sought justice against Jane Emons. If Underhill had given her a list of pro bono

names, she might have taken on a lawyer, but Underhill wanted her to take on Pattis as

her attorney – only Pattis. This litigant was adamant and firm: No way. Underhill next

set out to do everything in his power to make sure this litigant did not prevail. This

litigant should have won something in that case for the violation of her federal right by

townies that were harassing her for a third party. But she got nothing just five years of

legal misery: depositions, legal struggle and the tremendous waste of time it all entailed.

This litigant in all in four cases fought full-time for seven years against Judge Underhill

who did everything in his power to throw every case with lies, and violation of stated

rights.




                                                                                               5
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 6 of 22




7.     This litigant is poor, she has lived below the poverty level for years now since

Jane Emons refused to produce her husband and denied their stated right to

Conciliation on July 16, 2012 (Please read the transcript Exhibit E)




               49   EXHIBIT E, Transcript Day One July 16, 2012 Jane Emons' Court .



because judge Jane Emons made sure this litigant despite being married to man worth

$5 million got absolute nothing in divorce. Not even a dime. Two people happily

married should not be railroaded into divorce by the judges in Connecticut that was bad

enough; they also made sure this litigant got not even a dime. (Baker’s portfolio was

fraudulently conveyed into a trust controlled by his adult kids, Baker was locked way,

this litigant denied all access. By denying due process of the Wells Fargo transfer

documents, Emons and her four minion judges made sure this litigant was railroaded

into divorce, divorced without a private conversation with her own husband, and

awarded not even a dime. By denying due process they took away the only bargaining

chip this litigant had to negotiate with her husband’s powerful adult children to get her

husband home). Nothing. This was in complete violation of so many stated statutes.

8.     Underhill with the Pattis situation cost this litigant probably a million dollars in

case 3:11-cv-1183 as she was unlawfully put out of her home twice (once for 72 days

and next for 42 days) by powerful good-old boys in the town of Greenwich for easily

provable lies. This litigant would have appreciated a fair trial with a fair judge that case –

five years in the building. Underhill is not that man.




                                                                                              6
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 7 of 22




9.     Of course the US Supreme Court will not listen – this the fourth case to the US

Supreme Court about Underhill, or Emons. The only way to stave off injustice is to

make it public. Oh how exhausting this all is. As many times as this litigant has stated

to Underhill: “Sir, the other side is formidable enough, I do not want to engage with you.”

Underhill always makes it a spar between this litigant and him. He delights in it. Just as

he finally dismissed the Bar Mitzvah case, blindsiding with an argument never brought

up by the other side (in violation of Rule 70). And by denying the existence of the

affidavits of Whiteside and Walsh of their thwarted attempt to book a Christian

Confirmation at the very same venue. The disappearance of the Second Amendment

Complaint and Underhill’s refusal to allow the Third Amendment Complaint and the

Fourth Amended Complaint to encompass 31 pieces of evidence. Underhill expected

this litigant to rely on a four-year-old complaint that was written before the gathering of 7

depositions and 31 pieces of discovery. But this litigant believes, Underhill knew from

the get-go he would never let this litigant prevail. This litigant has come to believe that a

deal was made with members of the Jewish Community at the first in-camera

conference Underhill had with them - or at some point as it is the only explanation that

makes sense. What this litigant can never get back is the five years of time she spent

on case 3:11-cv-1402 and the five years she spend on 3:15-cv-1183 and the five years

she spent on3:14-cv-0959.

10.    To Underhill’s delight the Hearst Media Corporation has been major player in the

smear of this litigant. In the Bar Mitzvah case they reported this litigant was upset at flag

raising, a right all other ethnicities were able to conduct for years. They did this in the

form of editorial and false reporting. Never once did they report that Whitnum was



                                                                                              7
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 8 of 22




denied the ability to hold a Christian confirmation at the same venue – twice – six month

and one year after the Bar Mitzvah. That argument and the affidavits of Walsh and

Whiteside were the gravamen of this litigant’s Motion for Summary Judgment to which

she should have prevailed. Never once did the Hearst Media report the Bar Mitzvah

was a behind closed door RSVP only event. The Bar Mitzvah had a separate invitation

list than the flag rising and was hours later. The Bar Mitzvah was a private event, with a

separate invitation list as verified by the Deposition of Written Question by Senator

Richard Blumenthal.

11.   Because of the Hearst Media inaccurately reported; this litigant was bombarded

with an onslaught of hatred not unlike potential juror #63. Please examine the Complaint

of Judicial Misconduct #12 the attack by a potential juror (and the fact that Underhill

refused to dismiss the jury after it was tainted). What is not evident it the hatred in

juror’s words. Now multiply that by hate mail received from as far away as Israel,

people publically screamed at this litigant. An overall view that is not accurate. This

litigant is not and has never been anti-Semitic; this litigant’s boyfriend is Jewish.

Imagine if at the three–month mark Underhill, had ruled that the Town of Greenwich

violated the Establishment Clause by allowing a private Bar Mitzvah in a municipal

building and denying another citizens the ability to hold a Christian Confirmation at the

same venue. if Underhill had award the $1 this litigant requested (at that time). Imagine

how she would not have endured so many smears.

12. instead Federal Judge Underhill, to throw the case, Underhill violated rule 15 of all

amended complaints, lied on the record on June 16, 2015 claiming this litigant filed the

Amended Complaint in a different case (even though it was on the record), he lied about



                                                                                            8
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 9 of 22




the existence of the submitted affidavits of Walsh and Whiteside, even when the clerked

pulled the affidavits out as proof on the record Underhill would not change his mind.

Underhill finally blindsided with dismissal on that day, in violation of Rule 60 with an

argument never brought up by the other side: That since this litigant hadn’t viewed the

highly publicized Bar Mitzvah, she had no standing to complain about it. This was an

impossible benchmark as this litigant had provided ample testimony a Bar Mitzvah had

occurred and this litigant could have not viewed the Bar Mitzvah if she wanted to – it

was a private RSVP only event. Judge Underhill to make sure this litigant did not

prevail, lied on the record, and the violation of statutes. He ruled, not by the law but by

popularity. Underhill is unfit and this litigant paid great prices.

13. As an aside, the Hearst Media in Connecticut has smeared this litigant for years.

Some of those lies include: that this litigant stalked Judge Jane Emons that the

Governor Dannell Malloy had a protective order against her. None of this is true. Even

after being sent the proof that this litigant never rang the bell and ran at Jane Emons

house – which is the root of this case. They also sent proof that a protective order

requested by Malloy was to avoid discovery, and not the result of this litigant stalking

him (In 2011, surround by rabbis Malloy took to the airwaves and called this litigant

deranged and anti-Semitic) this litigant filed a defamation lawsuit which she later

dropped by not answering a Motion to Strike. In retaliation, the Malloy camp printed a

story that a judge granted a protective order – a protective order for discovery. They

knew exactly what they were doing and they capitalized on the public’s ignorance of the

two types of protective order: one criminal, one for discovery. For the record, this

litigant has never met Dannel Malloy and has no desire to do so. She’s never



                                                                                              9
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 10 of 22




confronted him. She does not know him, he attacked her in the press. He attacked her

and when she fought back he threatened her with a vexatious litigation countersuit and

then when she walked away he smeared with the lie about protective order.

14.    The Malloy camped took advantage of the public ignorance on the difference

between a criminal protective order and a discovery protective order and smeared her.

To this day people still believe this litigant stalked Jane Emons and Governor Malloy –

two events that never happened. This has affected every aspect of this litigant’s life.

Every aspect. It is an old Zionist ploy, discredit the messenger and you discredit the

message. This litigant will soon be fighting for the restoration of her good name this will

also fall on Judge Shea. This litigant prays for his honesty, strength and integrity.

15.    The veracity to the Hearst Media and proof has fallen on deaf ears. The Hearst

Media continues as recently as four months ago to smear this litigant. The repeatedly

reports the long-dismissed charges against her, as if it is still going on, and their refusal

to print the charges were dropped – years ago. The outcome of the charges and the

truth this litigant has provided to them. Never once has the Hearst Media printed that

the charges against this litigant were dropped or that this litigant has denied she had

rang the doorbell at the home of judge Emons, and that her phone records, obtained via

Federal subpoena proved that that Emons and Whalen framed her for incarnation –

which has been gravamen of this case and three others. The Hearst Media refuses to

print the gravamen of any of the cases this litigant has filed against Emons.

16.    It is so important for litigant to clear her name and get on with her life. Recently

this litigant tried to get on with her life in another state with a new job. She came back.

You can’t get away from the Internet. Why should she live under the lies of powerful



                                                                                           10
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 11 of 22




people? The guilty need to pay and this litigant needs to get the easily provable

falsehoods off the internet. All of this, the ability to get on with her life and put the seven

years in Connecticut court system, behind her. All of this falls now on Federal Judge

Shea.

17.     Please understand, the Hearst Media smears began ten years ago because this

litigant, a proud member of the peace community does not believe in the US funding of

Israel. She thought she had a First Amendment right, as a Congressional candidate to

talk about relevant foreign policy; But the Hearst Media has smeared her with lies on

more than 57 separate occasions. This litigant would like her life back which is why she

recently field a case against the Hearst Media Corporation. She is planning to revisit

that case but she is one woman wrapped up in years of full-time legalities. All in good

time.

18. This litigant is planning on reopening that case with the 57 exhibits (as proof of first

amendment violation) once she had some time, the fight for justice against Jane Emons

and John Whalen for what they did to this litigant and her poor husband, the ability to

get her good name back all rests on Federal Judge Shea.

19.     Tantamount to all is the removal of Stefan Underhill from this case. This litigant

truly believes he has mental illness. At this time it is hard to determine if Shea is friend

or foe. Every judge this litigant has encountered in Connecticut, in seven long years,

with the exception of Judge Tobin, has been foe taking their cues from Emons and

Whalen. Of course this judge is not going to take kindly to this litigant’s complaints

against Federal judge Underhill. But how else, how, how, how can this litigant get

Underhill off her case? How? This litigant is hoping that Judge Shea has the strength



                                                                                            11
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 12 of 22




to say to Underhill, “Listen pal, there are enough questionable actions here in her

Complaints of Judicial Misconduct; I’m asking you to step off this case.” One can only

pray.

20.     This litigant had been up against the most dishonest people she has ever an

encountered: Jane Emons, John Whalen and Federal Judge Underhill. The rest of the

judges went along; they are culpable - but they were not instigators, predators, in the

way these three were, especially Jane Emons.

21.     The media in light of how they most recently rewrote the history of the dismissal

of former Judge Jane Emons - four articles designed to make Emons the poor victim of

her more than 150+ detractors. The articles state or imply that Emons’ detractors as

anti-Semites and Emons is their victim, not one article on any of the allegations of more

than 150 people that Emons violated general statutes and engaged in behavior

extremely unacceptable and in violation of Judicial Code of Conduct. One reporter Mark

Pazniokas of the CT Mirror described Emons’ detractors as Nazi’s claiming “and first

they come for the Jews.” This is absolutely infuriating to the 150 people who filed with

the JUD Committee, the Judicial Review Counsel and numerous complaints directly to

Legislators – not one according to Rep. Minnie Gonzales at the reconfirmation hearing

February 16, 2018 mentioned anything about Emons “race or culture.” So many

complaints that Rep. Scott Franz stated publically “I have never received so many

complaints again a judge in my life.” Emons activities including keeping the Myers child

from his own father. The violation of general statues outlined on YouTube by the child’s

attorneys Garlinghouse and Greenan:

https://www.youtube.com/watch?v=ypEl4WwW-d8



                                                                                           12
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 13 of 22




https://www.youtube.com/watch?v=S0nKygJ394Y&t=125s



22. Emons behind the scenes manipulation and the power she exerts maybe the result

of widespread corruption. Who knows. Case in point. In this case the Woodbridge

Police determined after a three month investigation that this litigant, Lee Whitnum, did

not ring the bell of Judge Jane Emons between 12:30 and 1:38 am on the morning of

June 22, 2013. Despite, their three month investigation (Exhibit N)

               57   EXHIBIT N, 8-3-15 investigation by Woodbridge Police, no mention
                    of viewing the actual Prot. Order or this litigant's statement that there
                    was no active prot. order. .

Emons, or other powerful member of the Jewish Community, allegedly next sought the

services so John Whalen, assistant chief states prosecutor. Whalen disregarded the

report submitted by the Woodbridge Police. Next Whalen and his underling, Officer

Coffey, altered this litigant’s phone records on report #2013-0213 to get the arrest

warrant and the protective order against Lee Whitnum. That is the gravamen of this

case, the bogus protective order that Woodbridge Police should have known was bogus

and long expired, at the time of the 8-11-2015 arrest.

23.    The question is: How it is possible in the State of Connecticut for a private

citizen to enlist the highest levels of law enforcement to do her bidding? Especially after

the determination of another law enforcement agency? Special favors? How? And how

often has this happened to other citizens? This is all a by-product of a state 100 years

behind the times in evolution. There are no checks and balances and Superior court

judges are rubberstamped in every eight years regardless of behavior. Just like federal

judges, lower court judges in Connecticut get a job for life and that is the root of the


                                                                                           13
       Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 14 of 22




widespread problem. The elimination of the Grand Jury in 1984 means there is no way

to discipline run amok state employees from the statewide prosecutors office on up.

24.    In 41 court appearances across 3 ½ years this litigant estimates the State of

Connecticut spent about half a million dollars to prosecutor little ole’ Lee Whitnum, then

53-year-old Greenwich housewife with no priors, for something. Anything. This litigant

believes the Statewide Prosecutor’s office did this at the behest of Judge Jane Emons.

Why does she believe this? Because John Whalen told her. This litigant who spent a

tremendous amount of time with John Whalen (41 court appearances over 3 ½ years)

claims unabashedly, in response to this litigant’s numerous request to the biased

Norwalk criminal court presiding: judges Wenzel and Hernandez, “why can’t I be put on

the regular docket with the regular folk?”, and the very blunt “Whalen why are you here

– don’t you have real criminals to go after” to which Whalen, a soldier, a prosecutor-for-

hire (whether money changed hands is irrelevant – he was there at the behest of

another) with ice water in his veins stated he was there on the behest of Jane Emons

“his buddy” since they were first prosecutors – 35 years prior. How does this litigant

know they worked together 35 years ago: because John Whalen told her so. It is a

testament to Emons’ manipulative behind the scenes power as is the following letter

(name withheld), of Emons manipulation of the Branford Police Department to which

this litigant does not doubt at all based on Emons’ allegedly manipulation of the

Woodbridge Police, John Whalen in this case, and countless other people. Emons is

apparently a master manipulator.

       Subject:
       Perversions and abuses of power
       Message:
       I admire your spirit, your perserverance and your heart. Emons had the Branford PD

                                                                                            14
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 15 of 22




       cross city lines, into New Haven, against court ordered residency, and aid my ex in his
       kidnapping of my, then 5 year old daughter. The police action was done as a personal
       favor. Emons then put in place over a month long ex parte order (meant to last only 2
       weeks). My daughter was then completely isolated with her father, who has a extensively
       documented violent and psychotic history and had been recently committed. Emons did
       this against my daughter's court ordered Yale PhD's advice. Emons then ORDERED that
       no one involved was allowed to ever speak to Yale. Yale attempted to protect my
       daughter to the best of their ability, but were thwarted by Emons. Clifford Beers family
       advocates and care coordinators also attempted to assist my daughter. My daughter was
       severly traumatized and remains a changed and fearful child. Dcf refused to enter her
       fathers home, stating that he was "too aggressive" and not trusting their safety to the
       Branford PD as escort. Additionally, Ct state troopers removed my ex's pistol permit due
       to his threats to the state to shoot state troopers. The story sounds insane, but
       unfortunately seems not to be an isolated case. I now reside in Texas, having left CT due
       to the systemic abuse my family was suffering under Emons "justice." If I can be of any
       assitance to any of the families, or yourself, you are very welcome to any help I can
       provide. I would be happy to produce any documentation needed to keep Emons from
       harming another child or family



25.    What is disturbing about the above letter is the “special favor” Emons exerts over

the Branford Police Department in the same way over the Woodbridge Police

Department. They determined, after 3 months that this litigant did not ring Emon’s bell,

Emons then enlisted Whalen at the Statewide Prosecutor’s office. Another special

favor? Is anyone doing it by the book in Connecticut? Seemingly only Officer Keily of

the Connecticut State Police who repeatedly refused Emons’ demand to arrest this

litigant. It was Keily who instructed this litigant to modify the protective order to allow

access to the court house. This presumably so that Emons would stop calling the State

Police and demanding this litigant’s arrest every time she walked into the court house.

26.           Kiely had strength of character and he stood up to Emons in the way no

one else in the state had been able to: not judicial marshals, not the other judges, not



                                                                                              15
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 16 of 22




the Woodbridge Police not the Statewide Prosecutor's Office, not Federal Judge

Underhill Not the Second Circuit:

https://www.leewhitnum.com/judge-jane-emons--appellate-2nd-circuit-appeal--bogus-

ring-and-run.html

Not even the media in their clearly crafted-by-Emons rewrite of Emons’ dismissal.

27. The writer above, this poor woman, clearly traumatized, left the state, as have

others in response to the injustice. This litigant has chosen to fight. But this motion is

not about Emons but about Underhill. Underhill is the product of his family past, the

unchecked power of his job, coupled with his annoying need to be liked. He cannot run

away from who he is, no more than any of us can. Underhill is many things: this litigant

believes he is a bored narcissistic sociopath, a predator but he is not stupid. He will

make some excuse to Judge Shea in the same way he did to Judge Bolton, to stay on

this case. Don’t fall for it. He needs to be removed from this case as he out to aid and

abet Emons and Whalen. As he did in case 3:14-CV-0959.

28.      Underhill did everything in his power to protect Emons and Whalen. That was

the third case of five years of wasted of time. Underhill has wasted so many years of

this litigant life; Please make him step down. This litigant admittedly has taken her own

shots at Underhill, his past and what she feels at the waste of seven years of her life

and the denial of justice in four cases. She wishes she had had a judge who did it by the

book.

https://www.leewhitnum.com/whitnum-requests-monument-to-the-500--massacred-

greenwich-indians.-requests-underhill-society-foot-the-bill.html




                                                                                             16
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 17 of 22




29.    The situation between this litigant and federal judge Underhill is ugly. This

litigant believes Underhill to be a despicable human being, a narcotic sociopath

descendant from a homicidal sociopath who is not fit to sit in judgment of this litigant’s

good family name: true heroes, humble people. Underhill’s 11 generations of wealth

from that first soldier-for-hire commission in 1647, no doubt the Underhill family has

ridden the wave of prosperity from the original massacre of 500-700 innocent men,

women and children. Not an even a plaque to commemorate their existence, the

complete genocide of the Greenwich Indians. Contrast that with this litigant’s family:

Both her grandfather’s fought in World War I. One lost a testicle in hand-to-hand

combat, the suffered with shrapnel his entire life, he survived the trenches. This

litigant’s father was 16 years only when he was recruited to drop bombs on Germany as

there was no more English men they had to recruited boys. This litigant’s father flew

over Germany in Work War II not sure if when he returned his family would be alive.

This litigant is descendant from good, decent unsung heroes. A grandmother who

worked in the sweat shops of New York for 35 years and lived through the depression

but who never quite got past it. This litigant, herself, does what she can to engage in

brave battle for her country and she was dubbed by the Stop the Occupation website

and one of the leaders in the Peace Movement. The Bar Mitzvah case was the battle

that all ethnicities be granted equal access – the Establishment Clause.

29.    What this litigant is stating is she doesn’t care how many monuments have been

dedicated to the Underhill family as heros for killing Native Americans, this litigant

knows the truth: Stefan Underhill is not fit to sit in judgement of this litigant, not because

of his filthy murderous family past but because of his repeated and habitual actions in



                                                                                             17
         Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 18 of 22




violation of the stated rights of this litigant. He is a liar. Lying is unacceptable behavior.

The complete disregard of his role as a federal judge. The abuse of his power. Please

make him step down. This litigant believes him to be sick and he needs to be off the

bench.

30.      A fair judiciary is a core belief system that we hold – that our courts are fair and

that justice prevails. That is not the case and seven years of victimization of Underhill,

Emons and Whalen and three back-stabbing lawyers, judges, police officers, marshals

and judicial staff that did their bidding has rocked this litigant to the core. What a crock

it all is, we either accept it and avoid the courts a cesspools of corruption, or we fight to

make it what it should be. Tantamount is the ability to fire judges who lie and violated

statutes. Absolute power corrupts absolutely.

31.    The influence of Jane Emons and powerful members the Jewish Community is

not unique to Connecticut. In her PhD this litigant has a chapter in which she quotes

The Occidental Quarterly, Understanding Jewish Influence: A study in Ethnic Activism.

In that brilliant study there is a foreword by Frances Samuel written in 2004, he states…

       ”What MacDonald offers largely explains why so many Jews have reacted so
       strongly to any perceived threat, why they tend to perceive even innocuous
       remarks and actions as threatening, and how they coordinate and mobilize
       financial, political and public opinion to crush what they perceive. What his
       theory does not explain is why non-Jews put up with it and go along with it…”


The why? Indeed, that is the gravamen of this entire case: why did the Woodbridge

Police go along with Jane Emons demand that they do an extensive telephony search

for a ring and run? Why did John Whalen after the Woodbridge Police found no link to

Whitnum and the ring and run, did when then take the case to highest law enforcement

agency in the State of Connecticut? Whalen and office Coffey allegedly manipulated

                                                                                             18
         Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 19 of 22




this litigant’s phone record on his report #2013-0213 in order to get an arrest warrant?

How are they allowed to do this?

32. Why along the way have so many people, even the press, done the bidding to

rewrite the past of Emons lack of reconfirmation. The phenomenon that Samuel writes

about is commonplace – especially in the State of Connecticut. Emons owns a car

dealership and her money may exert power? Maybe she is a spoiled rich woman who is

so used to getting her way, she just demands it and the system is so corrupt, so lacking

in checks and balances, there is no downside for going along with it. This litigant

anxiously waits for her Deposition by Written Question to be returned to find out the

“why”.

33. Jewish people have fought for justice and fairness on many fronts: in the court

system, in the 1960s civil right marches down South. In the Bar Mitzvah case it was

Donald Landsman a Jewish man who wrote to Selectman Peter Tesei explaining the

dangers of allowing the access. If Underhill had stood firm and awarded the $1 and told

the Jewish Community “no more Bar Mitzvah’s in Town Hall” – nothing would have

happened to him. The Jewish Community, many with their strong intellect and sense of

fairness, would not have lost respect for Underhill, nor criticized him. Instead Underhill

did everything in his power to throw the case with lies on the record, denying the

existence of submitted evidence, denying the ability to depose material witnesses.

Lying about submitted amended complaints, repeated violation of Rule 15, and the

violation Rule 60 – blindsiding. Etc., Etc.

34. Underhill threw this litigant, the First Amendment Establishment Clause and the

rules of Federal procedure under the bus. To the public this litigant appears as a raving



                                                                                           19
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 20 of 22




anti-Semite taking offense at a flag raising, something all other ethnicities were allowed.

But to those intelligent people who watching t3:11-CV-1402, they know the truth as

does this litigant: Federal Judge Underhill is a sleaze ball. And that is the heart of this

problem: Underhill knows that this litigant sees him as he is: a despicable human

being. He knew from the next case (3:14-cv-01183) with his disgusting, ingratiating

habit of coming off the bench and shaking everyone’s hand. Yuk, she wanted no part of

him as she knows exactly the kind of man he is. This litigant pulled her hand away –

she won’t shake hands with Underhill. He is an actor; he portrays himself as mind-

mannered, caring and fair. He knows she knows all about him and he knows she is

right. For that reason he wants to be on every case to hurt her.

36.     This litigant had the worst conversation at dinner party as two lawyers who

defended Underhill’s integrity. This litigant never laughed so hard, their arguments

were based on Underhill’s manner not on his rulings. Well that’s the beauty of the

written word, someone’s charm, and well-bread patrician mannerisms, are not entered

into the equation. That is of course if anyone is listening.

37.     Most people like their foes easily identifiable like Arnold Shwarzenanger in the

Terminator I. But really the most insidious of foe is the wolf in sheep’s clothing, the mild

mannered, white skin with pale, pale blue eyes in a cop uniform like in Terminator II who

turns into molten steel. Watching that movie this litigant was so scared and she could

not understand why. Then she realized: the Terminator II reminded her of Underhill.

He even looks like him, instead of the cop uniform - the robes of justice, what a

contradiction. Please remove this terminator off my case and off my back – seven

years is long enough.



                                                                                              20
       Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 21 of 22




Respectfully,

s/ L. Lee Whitnum




                                                                         21
        Case 3:17-cv-01362-JCH Document 72 Filed 09/04/18 Page 22 of 22




                                   CERTIFICATION



I hereby certify that on September 4, 2018 a copy of the foregoing was sent via US mail

to the following:


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Sincerely,

L. Lee Whitnum

L. Lee Whitnum




                                                                                     22
